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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
JILL HEGEL,                          )
      Plaintiff,                    )
                                    )   C.A. NO. __________________________
VS.                                 )
                                    )
CITY OF GLOUCESTER,                 )
      Defendant.                     )

 NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT PURSUANT
                       TO 28 U.S.C. § 1441(a)

TO THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF MASSACHUSETTS

       Petitioner, the City of Gloucester, respectfully petitioners this Court, pursuant to 28 U.S.C.

§ 1441(a), for removal of the above-entitled action to the United States District Court for the

District of Massachusetts, Civil Session, from the Superior Court of the Commonwealth of

Massachusetts in and for Middlesex County, and for the Notice of Removal state as follows:

       1.        Petitioner is named defendant by the plaintiff, Jill Hegel, in a civil action filed in

the Superior Court of the Commonwealth of Massachusetts in and for Middlesex County entitled

Jill Hegel v. City of Gloucester, Civil Action No. 1981-CV-03602. On August 2, 2021, the plaintiff

served, under Superior Court Rule 9A, a Motion for Leave to File an Amended Complaint along

with a proposed Amended Complaint pursuant to Mass.R.Civ.P. 15. (See Proposed Amended

Complaint, attached hereto as Exhibit A). The Motion was filed on August 16, 2021. On August

17, 2021 the Middlesex Superior Court allowed the Motion for Leave to File an Amended

Complaint. (See Order Allowing Motion for Leave to File an Amended Complaint, attached hereto

as Exhibit B).

       2.        This is a suit of a wholly civil nature brought in a Massachusetts state court. The

action is pending in Middlesex County, Massachusetts, and, accordingly, under 28 U.S.C. §§ 101


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and 1441(a), the United States District Court for the District of Massachusetts is the proper forum

for removal.

       3.      In her Amended Complaint, the plaintiff now seeks damages and other relief

alleging that defendant is liable to her under 42 U.S.C. §§ 12132 & 12202 by denying her access

to a certain public beach within the City of Gloucester “by virtue of an allegedly significant

disrepair and/or non-compliance with statutory handicap access codes.”

       4.      Because this civil action arises under the Constitution and laws of the United States,

the United States District Court has original jurisdiction under 28 U.S.C. § 1331.

       5.      The United States District Court has supplemental jurisdiction over the other counts

in the Amended Complaint pursuant to 28 U.S.C. § 1367(a).

       6.      The petitioners are filing this Notice of Removal within thirty (30) days of “after

receipt by the defendant, through service or otherwise, of a copy of an amended pleading,” which

is within thirty days of the date this action became removable, and within the time for filing this

petition. See 28 U.S.C. § 1446(b)(3).

       7.      The petitioner will file a Notice of Filing of this Notice of Removal and a copy of

this Notice of Removal with the Clerk of the Superior Court of Massachusetts, County of

Middlesex.

       8.      Pursuant to Local Rule 81.1(a), the petitioner shall request of the Clerk of the

Superior Court of Massachusetts, County of Middlesex, certified or attested copies of all records

and proceedings in the state court and certified or attested copies of all docket entries therein, and

shall file the same with this Court within thirty (30) days after the filing of this Notice of Removal.




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       WHEREFORE, petitioner, City of Gloucester, prays that the above- entitled action now

pending in the Middlesex Superior Court of the Commonwealth of Massachusetts in and for

Middlesex County be removed from that Court to this United States District Court.



                                           The Defendant,

                                           CITY OF GLOUCESTER
                                           By its Attorneys,

                                           PIERCE DAVIS & PERRITANO LLP

                                           /s/ Justin L. Amos
                                           ______________________________________
                                           John J. Cloherty, BBO #566522
                                           Justin L. Amos, BBO #697232
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Dated: August 17, 2021




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                               CERTIFICATE OF SERVICE

        I hereby certify that on August 17, 2021, a true copy of this document was served upon
each attorney of record via first class and electronic mail as follows:

       William Kennedy, Esq.
       Christine M. McPhee, Esq.
       Law Offices of William T. Kennedy, P.C.
       21 McGrath Highway, Suite 404
       Quincy, MA 02169-5311


                                            /s/ Justin L. Amos
                                            ______________________________________
                                            Justin L. Amos




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